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 3   Telephone: (916) 447-9299
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 4
     Attorney for Defendant
 5   EDWARD FUENTES
 6
 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
12   UNITED STATES OF AMERICA,       )            No. CR-S 07-248-WBS-DAD
                                     )
13                  Plaintiff,       )
                                     )            STIPULATION AND ORDER TO
14        v.                         )            CONTINUE SENTENCING
                                     )
15   EDWARD FUENTES,                 )
                                     )
16                                   )            Date: October 11, 2011
                    Defendant.       )            Time: 8:30 a.m.
17   _______________________________ )            Hon. William B. Shubb
18
19         Defendant Edward Fuentes, through his counsel John Balazs, and the United States,
20   through its counsel, Assistant U.S. Attorney Jason Hitt, hereby stipulate and request that
21   the Court continue the sentencing date for defendant Edward Fuentes from August 15,
22   2011 to October 11, 2011, at 8:30 a.m. to permit the parties to consult further and prepare
23   sentencing responses and memoranda.
24   ///
25   ///
26   ///
27
28
      Case 2:07-cr-00248-WBS Document 938 Filed 08/03/11 Page 2 of 2


 1   The probation officer Casey Horner concurs with this request.
 2   Dated: August 2, 2011
 3                                  Respectfully submitted,
 4
 5                                  /s/ John Balazs
                                    JOHN BALAZS
 6
                                    Attorney for Defendant
 7                                  EDWARD FUENTES
 8
 9
                                    BENJAMIN WAGNER
10                                  U.S. Attorney
     Dated: August 2, 2011
11
                              By:   /s/ Jason Hitt
12                                  JASON HITT
                                    Assistant U.S. Attorney
13
14
15                                     ORDER
16   IT IS SO ORDERED.
17   Dated: August 2, 2011
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